Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01          Desc: Main
                           Document Page 1 of 6

                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF PUERTO RICO


IN RE:
                                                           CASE NO. 13-05039 ESL
OSVALDO BERMUDEZ RIVERA
NOELIA BRITO BURGOS
                                                           CHAPTER 13
            DEBTOR(S)


          TRUSTEE’S MOTION ON NON DELIVERY OF TAX REFUNDS
TO THE HONORABLE COURT:

     Comes now Alejandro Oliveras Rivera, Chapter 13 Trustee and
respectfully states and prays:

     1.     Debtor(s) confirmed / approved plan contains a provision
devoting income tax refunds to its funding.


     2.     To   this    date,   debtor(s)    has    not    placed    on     the   record
whether they were entitled or not to a tax refund for the pertinent
year.
            Tax Refund for year 2017.


     3.     To gauge the extent of debtor(s) non-compliance a review
     of the income tax returns is necessary. Thus, debtor(s) should
     provide copy of the same.


     4.     A term of fourteen (14) days from the date order granting
     this    motion     is   entered   on   docket   be     granted     to   debtor     to
     comply.


     5.     Debtor(s) is(are) not member(s) of the U.S. Armed Forces,
     the Coast Guard, the Public Health Service or the National
     Oceanic     and    Atmospheric    Administration,       as   evidenced        by   the
     Certificate issued by the U.S. Department of Defense, copy of
Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01          Desc: Main
                           Document Page 2 of 6
Motion a non delivery tax refund
Case No. 13-05039 ESL
Page 2


      which   is   attached     only   to   the   original    of    this    motion   and
      movant’s copy.

      WHEREFORE,    for   the    reasons    stated   above     it   is     respectfully
requested from the Court to enter an order directing debtor(s) to
submit the corresponding tax returns.

30 DAY NOTICE TO ALL CREDITORS AND PARTIES IN INTEREST:
Within thirty (30) days after services as evidenced by the certification,
and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if
you were served by mail, any party against whom this paper has been served,
or any other party to the action who objects to the relief sought herein,
shall serve and file an objection or other appropriate response to this
paper with the clerk’s office of the United States Bankruptcy Court for the
District of Puerto Rico. If no objection or other response is filed within
the time allowed herein, the paper will be deemed unopposed and may be
granted unless: (i) the requested relief is forbidden by law; (ii) the
requested relief is against public policy; or (iii) in the opinion of the
court, the interest of justice requires otherwise.


     CERTIFICATE OF SERVICE: I hereby certify that on this same date I
electronically filed the above document with the Clerk of the Court using
the CM/ECF System which sent a notification of such filing to all those who
in this case have registered for receipt of notice by electronic mail. I
further   certify    that   I   have   served   to    the   U.S.   Trustee,
ustpregion21.hr.ecf@usdoj.gov and by depositing true and exact copies
thereof in the United States Mail, postage prepaid, to the non CM/ECF
participants: debtor(s) the mailing address of record.


RESPECTFULLY SUBMITTED in San Juan, Puerto Rico this, July 20, 2018.



                                                       /s/ Alejandro Oliveras Rivera
                                                        ALEJANDRO OLIVERAS RIVERA
                                                                     CHAPTER 13 TRUSTEE
                                                                       P.O. Box 9024062
                                                                San Juan, PR 00902-4062
                                                             Tel. 977-3500 Fax 977-3521
                                                                                JAR-CCA
     Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01ResultsDesc:        Main
Department of Defense Manpower DataDocument
                                    Center   Page 3 of 6
                                                                                as of : Jul-19-2018 02:55:30 PM

                                                                                                                                                                                         SCRA 4.5




SSN:                          XXX-XX-5828
Birth Date:
Last Name:                    BERMUDEZ RIVERA
First Name:                   OSVALDO
Middle Name:
Status As Of:                 Jul-19-2018
Certificate ID:               207DZCYJK5FK5L2

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01                                                        Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                          Document Page 4 of 6
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
     Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01ResultsDesc:        Main
Department of Defense Manpower DataDocument
                                    Center   Page 5 of 6
                                                                                as of : Jul-19-2018 02:56:12 PM

                                                                                                                                                                                         SCRA 4.5




SSN:                          XXX-XX-8800
Birth Date:
Last Name:                    BRITO BURGOS
First Name:                   NOELIA
Middle Name:
Status As Of:                 Jul-19-2018
Certificate ID:               RYSV3TNDQ2HGCWY

                                                                               On Active Duty On Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                                     This response reflects the individuals' active duty status based on the Active Duty Status Date




                                                                       Left Active Duty Within 367 Days of Active Duty Status Date

           Active Duty Start Date                               Active Duty End Date                                          Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                        This response reflects where the individual left active duty status within 367 days preceding the Active Duty Status Date




                                                The Member or His/Her Unit Was Notified of a Future Call-Up to Active Duty on Active Duty Status Date

        Order Notification Start Date                       Order Notification End Date                                       Status                                 Service Component

                    NA                                                   NA                                                     No                                          NA

                                           This response reflects whether the individual or his/her unit has received early notification to report for active duty



Upon searching the data banks of the Department of Defense Manpower Data Center, based on the information that you provided, the above is the status of
the individual on the active duty status date as to all branches of the Uniformed Services (Army, Navy, Marine Corps, Air Force, NOAA, Public Health, and
Coast Guard). This status includes information on a Servicemember or his/her unit receiving notification of future orders to report for Active Duty.




Michael V. Sorrento, Director
Department of Defense - Manpower Data Center
400 Gigling Rd.
Seaside, CA 93955
         Case:13-05039-ESL13 Doc#:51 Filed:07/20/18 Entered:07/20/18 08:45:01                                                        Desc: Main
The Defense Manpower Data Center (DMDC) is an organization of the Department of Defense (DoD) that maintains the Defense Enrollment and Eligibility
                                                          Document Page 6 of 6
Reporting System (DEERS) database which is the official source of data on eligibility for military medical care and other eligibility systems.


The DoD strongly supports the enforcement of the Servicemembers Civil Relief Act (50 USC App. ? 501 et seq, as amended) (SCRA) (formerly known as
the Soldiers' and Sailors' Civil Relief Act of 1940). DMDC has issued hundreds of thousands of "does not possess any information indicating that the
individual is currently on active duty" responses, and has experienced only a small error rate. In the event the individual referenced above, or any family
member, friend, or representative asserts in any manner that the individual was on active duty for the active duty status date, or is otherwise entitled to the
protections of the SCRA, you are strongly encouraged to obtain further verification of the person's status by contacting that person's Service. Service contact
information can be found on the SCRA website's FAQ page (Q33) via this URL: https://scra.dmdc.osd.mil/faq.xhtml#Q33. If you have evidence the person
was on active duty for the active duty status date and you fail to obtain this additional Service verification, punitive provisions of the SCRA may be invoked
against you. See 50 USC App. ? 521(c).


This response reflects the following information: (1) The individual's Active Duty status on the Active Duty Status Date (2) Whether the individual left Active
Duty status within 367 days preceding the Active Duty Status Date (3) Whether the individual or his/her unit received early notification to report for active
duty on the Active Duty Status Date.


More information on "Active Duty Status"
Active duty status as reported in this certificate is defined in accordance with 10 USC ? 101(d) (1). Prior to 2010 only some of the active duty periods less
than 30 consecutive days in length were available. In the case of a member of the National Guard, this includes service under a call to active service
authorized by the President or the Secretary of Defense under 32 USC ? 502(f) for purposes of responding to a national emergency declared by the
President and supported by Federal funds. All Active Guard Reserve (AGR) members must be assigned against an authorized mobilization position in the
unit they support. This includes Navy Training and Administration of the Reserves (TARs), Marine Corps Active Reserve (ARs) and Coast Guard Reserve
Program Administrator (RPAs). Active Duty status also applies to a Uniformed Service member who is an active duty commissioned officer of the U.S.
Public Health Service or the National Oceanic and Atmospheric Administration (NOAA Commissioned Corps).


Coverage Under the SCRA is Broader in Some Cases
Coverage under the SCRA is broader in some cases and includes some categories of persons on active duty for purposes of the SCRA who would not be
reported as on Active Duty under this certificate. SCRA protections are for Title 10 and Title 14 active duty records for all the Uniformed Services periods.
Title 32 periods of Active Duty are not covered by SCRA, as defined in accordance with 10 USC ? 101(d)(1).


Many times orders are amended to extend the period of active duty, which would extend SCRA protections. Persons seeking to rely on this website
certification should check to make sure the orders on which SCRA protections are based have not been amended to extend the inclusive dates of service.
Furthermore, some protections of the SCRA may extend to persons who have received orders to report for active duty or to be inducted, but who have not
actually begun active duty or actually reported for induction. The Last Date on Active Duty entry is important because a number of protections of the SCRA
extend beyond the last dates of active duty.


Those who could rely on this certificate are urged to seek qualified legal counsel to ensure that all rights guaranteed to Service members under the SCRA
are protected


WARNING: This certificate was provided based on a last name, SSN/date of birth, and active duty status date provided by the requester. Providing
erroneous information will cause an erroneous certificate to be provided.
